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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 THE STATE OF GEORGIA                       )
                                            )       CRIMINAL CASE NO.
       Plaintiff,                           )
                                            )       __________________________
 v.                                         )
                                            )       (Removed from the Superior Court
 SHAWN STILL,                               )       of Fulton County, Criminal Action
                                                    File No. 23SC188947)
                                            )
       Defendant.                           )
                                            )

                             NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1442(a) and 1455, Defendant Shawn Still hereby

removes this action from the Superior Court of Fulton County to the United States

District Court for the Northern District of Georgia, Atlanta Division. Removal is

proper under 28 U.S.C. § 1442, because the prosecution of Mr. Still is based on his

attendance at a single meeting on December 14, 2020, in his capacity as a contingent

Unites States presidential elector. In that role, Mr. Still was, or was acting under, an

officer of the United States. Furthermore, he possesses federal defenses to the

charges brought against him in the Indictment (attached hereto as Exhibit A),

requiring the construction of federal law. Therefore, removal is not only proper but

required under 28 U.S.C. §§ 1442(a) and 1455.
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I.    BACKGROUND

      Shawn Still—serving since January 2023 as state senator for Georgia’s 48th

district—is not a career politician. Rather, he is a small business owner, employing

hundreds of Georgians. For the past twenty years, Mr. Still has worked at—and now

owns and operates—his family’s pool construction company in the Atlanta area. He

also owns a small rafting company and, from 2015 to 2018, served as the President

and Founder of the Georgia Coalition for Job Creation, a non-partisan organization

with a mission to help create jobs and broaden economic opportunities for

Georgians. Nevertheless, the State indicted Mr. Still for attending a single meeting,

on a single day, during which he followed advice of counsel and politicians who

have been at it way longer than he has.

      On March 4, 2020, the State Executive Committee of the Georgia Republican

Party nominated Mr. Still as one of the sixteen Georgia presidential electors. The

next day, the Georgia Republican Party certified to the Secretary of State that Mr.

Still and the other fifteen Georgians were the Republican nominees for presidential

electors. Indeed, the Georgia Election Code requires the election of presidential

electors every four years (i.e., when a presidential election occurs). O.C.G.A. § 21-

2-10. Generally, each party will nominate its own electors, and the party whose

presidential candidate wins the popular vote will have its electors meet and cast

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ballots for its candidate.

       Per the United States Constitution, federal statute, and state statute, Georgia’s

presidential electors must meet at noon on the first Monday after the second

Wednesday in December of each presidential election year to fulfill their duties as

presidential electors. U.S. Const. art. II, sec. 1 (“The Congress may determine the

Time of ch[oo]sing the electors, and the Day on which they shall give their Votes;

which Day shall be the same throughout the United States.”); 3 U.S.C. §§ 7, 8;1

O.C.G.A. § 21-2-11. The electors’ specific duties include the duties to meet in their

respective states, vote by ballot, make a list of all persons voted for, sign and certify

that list, and transmit the list sealed to Congress, directed to the Vice President of

the United States Senate/Vice President of the United States. U.S. Const. art. II, sec.

1, cl. 3; U.S. Const. amend. XII. For the 2020 general election, the date on which

the electors were obligated to perform their duties was December 14, 2020.

       The general election was held on November 3, 2020. On November 20, 2020,

Georgia Secretary of State Brad Raffensperger certified the general election results

which showed that then-candidate Joe Biden had won the popular vote for president


1
  The current version of 3 U.S.C. § 7, which became effective on December 29, 2022, provides
that presidential electors “meet and give their votes on the first Tuesday after the second
Wednesday in December.” 3 U.S.C. § 7 (emphasis added). However, the version in effect at the
time of the 2020 general election required the presidential electors to meet and vote on the first
Monday after the second Wednesday in December. 3 U.S.C. § 7 (enacted June 25, 1948).
                                                3
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in Georgia. That same day, President Donald Trump demanded a recount. On

December 4, 2020, he and David Shafer—another presidential elector nominee—

filed their “Verified Petition to Contest Georgia’s Presidential Election Results for

Violations of the Constitution and Laws of the State of Georgia, and Request for

Emergency Declaratory and Injunctive Relief” in the Superior Court of Fulton

County. See Trump et. al. v. Raffensperger et. al., Case No. 2020CV343255 (the

“Georgia Election Challenge”).

      Pursuant to the legal advice Mr. Shafer received from counsel, Mr. Shafer,

Mr. Still, and the other contingent Republican presidential nominees met at the

Georgia State Capitol building on December 14, 2020. Mr. Shafer called the

meeting to order and explained to the contingent electors—including Mr. Still—that

President Trump had filed an election challenge to the certified election result, which

remained pending in court. (See Transcript of December 14, 2020, Elector Meeting,

p. 4 (attached hereto as Exhibit B).)2 Mr. Shafer further explained that “in order to

preserve President Trump’s rights in the pending contest, it was important that the

contingent Presidential Electors meet that day and cast their votes.” (See id.) During

the meeting, an attorney, who the meeting transcript and Mr. Shafer identified as “a



2
  Notably, the December 14, 2020, elector meeting was transcribed by Anne Hansen of
AHReporting, LLC, a Georgia-certified court reporter. (Ex. B at pp. 14–15.)
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lawyer for President Trump,” explained the purpose of the meeting to Mr. Still and

the other contingent electors, stating:

       [W]e’re conducting this because the contest of the election in Georgia
       is ongoing. And so we continue to contest the election of the electors in
       Georgia. And so we’re going to conduct this in accordance with the
       Constitution of the United States, and we’re going to conduct the
       electorate today similar to what happened in 1960 in Hawaii.

(Id. at pp. 3, 8.) 3 Mr. Shafer then told the contingent electors that “if we did not hold

this meeting, then our election contest would effectively be abandoned.” (Id. at p.

9.) President Trump’s attorney confirmed that Mr. Shafer’s statement was accurate.

(Id.) Mr. Shafer further explained that “the only way for us to have any judge

consider the merits of our complaint, the thousands of people we alleged voted

unlawfully, is for us to have this meeting and permit the contest to continue; is that

not correct?” (Id.) The attorney once again confirmed the accuracy of Mr. Shafer’s

statement. (Id.) Per the attorney’s advice and under the belief that the contingent

vote was necessary to preserve the right to lawfully contest the election, Mr. Still

cast a contingent ballot in his capacity as a contingent presidential elector. Mr. Still

also opened the door for the media upon the beginning of the meeting. (Deposition


3
   In the 1960 presidential election, Richard Nixon’s certified electors and John F. Kennedy’s
uncertified elector nominees from Hawaii cast ballots for their respective candidates and submitted
those ballots to Congress. After Kennedy prevailed in the judicial election contest, the Governor
of Hawaii certified the votes of Kennedy’s electors, and Congress counted those votes. (See
Shafer’s Notice at pp. 8–9.)
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of Shawn Still before the January 6th Commission, p. 42 (“[M]y one glorious role

was opening the door for the media and letting them all in.”) (attached hereto as

Exhibit C).)

      On August 14, 2023, the State indicted Mr. Still in the Superior Court of

Fulton County, No. 23SC188947, charging him in eight counts of the 41-count and

98-page Indictment. Specifically, the State charged Mr. Still in the following counts:

      •        Count 1: Violation of the Georgia RICO Act, O.C.G.A. § 16-14-4(c);

      •        Count 8: Impersonating a Public Officer, O.C.G.A. §§ 16-4-8, 16-10-

               23;

      •        Count 10: Forgery in the First Degree, O.C.G.A. § 16-9-1(b);

      •        Count 12: False Statements and Writings, O.C.G.A. § 16-10-20;

      •        Count 14: Criminal Attempt to Commit Filing False Documents,

               O.C.G.A. §§ 16-4-1, 16-10-20.1(b)(1);

      •        Count 16: Forgery in the First Degree, O.C.G.A. § 16-9-1(b); and

      •        Count 18: False Statements and Writings, O.C.G.A. § 16-10-20.

(Ex. A, pp. 14, 77, 79–82.)

      Although the Indictment charges Mr. Still with eight separate counts, the

factual allegations related to Mr. Still that allegedly tie him to the “criminal

enterprise” only relate to his attendance at the December 14, 2020, meeting in which
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he served as a contingent presidential elector and cast his ballot as directed by Mr.

Shafer and legal counsel. (See id. at pp. 41–43, 77, 79–82.)

II.   BASIS FOR REMOVAL

      The federal officer removal statute permits removal of any “criminal

prosecution that is commenced in a State court” against “any officer (or any person

acting under that officer) of the United States” in “an official capacity or individual

capacity, for or relating to any act under color of such office.” 28 U.S.C. § 1442

(emphasis added). The removal statute is mandatory. City of Norfolk v. McFarland,

143 F. Supp. 587, 589 (E.D. Va. 1956).

      To qualify for federal officer removal, a defendant must show that (1) the

“defendant is a person within the meaning of the statute who acted under a federal

officer,” (2) he “performed the actions for which [he] is being sued under the color

of federal office,” and (3) he raises a “colorable federal defense.” Caver v. Cent. Ala.

Elec. Coop., 845 F.3d 1135, 1142 (11th Cir. 2017) (citations omitted). The notice of

removal must contain a “short and plain statement of the grounds for removal.” 28

U.S.C. § 1455(a).

      A.     Mr. Still Was Acting as a Federal Officer or, at Minimum, Was
             Acting Under an Officer of the United States

      Mr. Still satisfies the first requirement for federal officer removal because at

the December 14, 2020, contingent elector meeting—the sole basis for the
                                   7
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prosecution against Mr. Still—Mr. Still was acting, or was acting under, an officer

of the United States. As described in more detail in Mr. Shafer’s Notice of Removal

dated August 21, 2023, (“Shafer’s Notice”) relevant parts of which are incorporated

herein by reference, 4 the United States Constitution sets forth a presidential elector’s

authority, role, and duties. U.S. Const. art. II, sec. 1, cl. 3; U.S. Const. amend. XII;

(see Shafer’s Notice at p. 17.) Indeed, the Constitution directs presidential electors

to meet, vote, make a list of all persons voted for, sign and certify the list, and

transmit the list sealed to Congress, which is directed to the Vice President of the

United States Senate/Vice President of the United States. U.S. Const. art. II, sec. 1,

cl. 3. Furthermore, Congress has imposed additional duties on presidential electors.

See 3 U.S.C. §§ 7, 9, 10. That is, the role of presidential elector is a federal one—

created and directed by the United States Constitution and Congress. Thus, Mr. Still,

acting as a presidential elector, was a federal officer.

       Even if the Court were to find that Mr. Still did not act as a federal officer in

his role as a presidential elector, Mr. Still would still satisfy the first requirement for

federal officer removal because he—at minimum—was acting under officers of the

United States. Under Section 1442, federal courts broadly construe the term “acting



4
   Section II.A of Shafer’s Notice and all authorities contained therein are hereby adopted and
incorporated into this Notice of Removal as though fully set forth herein.
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under”, interpreting it to mean “an effort to assist, or to help carry out, the duties or

tasks of the federal superior.” (See Shafer’s Notice at p. 18 (citing Watson v. Phillip

Morris Cos., 551 U.S. 142, 147 (2007))). Section 1442 encompasses “literally

thousands of persons,” including some individuals that “otherwise would have little

or no appearance of official authority.” (Id. at p. 19 (citing City of Greenwood v.

Peacock, 384 U.S. 808, 820 (1966))). As described above, presidential electors act

pursuant to duties laid out in the United States Constitution and by Congress.

Further, the presidential electors’ role necessarily “help[s] carry out[] the duties or

tasks of the federal superior,” because it is elector ballots that the Senate opens, the

tellers count, and that ultimately dictate who the President of the Senate declares

President and Vice President of the United States. (Id. at pp. 18–21.)

      Mr. Still, as a presidential elector, was also acting at the direction of the

incumbent President of the United States. The President’s attorneys instructed Mr.

Still and the other contingent electors that they had to meet and cast their ballots on

December 14, 2020, in order to preserve the presidential election contest. (See id. at

p. 19; Ex. B at pp. 8–9.)




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       B.     Mr. Still is Being Prosecuted for Acts Done When He Was Acting
              as a Federal Officer or, at Minimum, Was Acting Under an Officer
              of the United States

        Mr. Still satisfies the second requirement for federal officer removal because

his role as a contingent presidential elector at the December 14, 2020, meeting is the

sole basis for the State’s charges against him. As explained in Section II.B of

Shafer’s Notice, 5 there is “a causal connection between” the duties of a presidential

elector and the conduct charged in the Indictment. (See Shafer’s Notice at pp. 21–

22.) Specific to Mr. Still, he met and cast a vote in his capacity as a contingent

presidential elector pursuant to advice from President Trump’s attorney, and the

Indictment charges him in eight counts for conduct related to that very same elector

meeting and vote. Thus, a “connection” or “association” exists between “the act in

question” (i.e., meeting and casting a ballot) and “the federal office” (i.e., the role of

a presidential elector). (See id. at p. 21 (quoting Caver, 845 F.3d at 1144).)

       C.     Mr. Still has Colorable Federal Defenses

       Finally, Mr. Still satisfies the third requirement for officer removal because

he possesses colorable federal defenses to the State’s charges against him. The

colorable federal defense required under Section 1442 “need only be plausible; its



5
  Section II.B of Shafer’s Notice is hereby adopted and incorporated into this Notice of Removal
as though fully set forth herein.
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ultimate validity is not to be determined at the time of removal.” (See id. at p. 22

(quoting Magnin v. Teledyne Cont’l Motors, 91 F.3d 1424, 1427 (11th Cir. 1996)).)

“Under the federal officer removal statute . . . the federal-question element is met if

the defense depends on federal law.” Jefferson County v. Acker, 527 U.S. 423, 431

(1999).

       Mr. Still generally possesses the same federal defenses outlined in detail in

Mr. Shafer’s Notice of Removal: (1) official immunity under the Supremacy Clause

of the United States Constitution, (2) the Preemption Defense, (3) the Supremacy

Clause defense, (4) Due Process protection, and (5) First Amendment protection.

(See Shafer’s Notice at pp. 22–30.) Mr. Still adopts and incorporates Section II.C

of Mr. Shafer’s Notice and the authorities cited therein (i.e., Mr. Shafer’s federal

defenses) and merely reiterates here the core principles pertinent to Mr. Still’s

defenses.6

       First, Mr. Still has federal officer immunity to the charges against him in the

Indictment. The Indictment’s eight counts against Mr. Still all relate to—and only

relate to—his attendance and vote at the contingent elector meeting on December

14, 2020. As explained in Section II.C.1 of Shafer’s Notice, federal law specifically


6
 Note, however, that Mr. Still was not a party in the lawsuit former President Trump and Mr.
Shafer filed. Thus, the portions of Mr. Shafer’s Notice relating to that lawsuit are inapplicable to
Mr. Still.
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authorizes a presidential elector to engage in such conduct, and Mr. Still did no more

than necessary to fulfill his duties as a presidential elector. Furthermore, Mr. Still

subjectively believed his conduct was justified, and his conduct was objectively

reasonable because he relied on legal counsel’s specific and express advice that his

conduct was constitutional, legal, and necessary. Mr. Still also relied on legal

counsel’s interpretation of legal precedent.

      Second, Mr. Still possesses preemption as a colorable federal defense to the

State’s charges. Indeed, as set out in Mr. Shafer’s Notice, the doctrines of structural

preemption, field preemption, and conflict preemption all apply equally to Mr. Still

as he was acting in his capacity as a contingent presidential elector in the 2020

United States presidential election for the conduct the Indictment charges. (See id.

at p. 24.) Therefore, the state criminal laws in the Indictment are preempted as

applied to Mr. Still.

      Third, the Indictment, charging violations of state criminal laws, attempts to

criminalize conduct which was taken pursuant to exclusive federal authority and

specifically contemplated and permitted by the United States Constitution and

federal law. Indeed, Mr. Still’s actions as a contingent presidential elector were

within the authority of the federal government and, thus—under the Supremacy

Clause—cannot be violations of state criminal law. (See id. at p. 25.)

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       Fourth, Mr. Still’s Fifth Amendment and Fourteenth Amendment due process

rights afford further protection for his conduct. Legal counsel specifically informed

Mr. Still that his actions (i.e., attending the elector meeting and casting a ballot) were

not only constitutional and legal but also necessary to preserve the ability to lawfully

challenge the election results through the proper channels (i.e., the courts). Indeed,

legal counsel advised Mr. Still that they were conducting the elector meeting and

vote in accordance with legal precedent. Thus, Mr. Still did not have any notice or

fair warning that his conduct in his capacity as a contingent presidential elector could

violate the statutes under which the State has charged him. (See id. at pp. 26–28.)

       Finally, the First Amendment protects Mr. Still’s conduct. In his role as a

presidential elector nominee for the 2020 presidential election, Mr. Still attended a

meeting with other contingent electors and cast a ballot in accordance with the

instructions from legal counsel.             Such conduct clearly constitutes political

expression, association, and expressive conduct protected by the First Amendment.

(See id. at pp. 28–30.) 7


7
   Even if the Court finds that Mr. Still is not entitled to removal under 28 U.S.C. §§ 1442 and
1455, only one defendant must be entitled to federal officer removal for the entire case to be
removed to federal court. See, e.g., Arango v. Guzman Travel Advisors Corp., 621 F.2d 1371,
1376 (5th Cir. 1980) (when a federal officer exercises his prerogative under 28 U.S.C. § 1442(a)(1)
to remove an action “commenced against him in state court, the entire case against all defendants,
federal and non-federal, is removed to federal court regardless of the wishes of his co-defendants”)
(citations omitted); Georgia v. Heinze, 637 F. Supp. 3d 1316, 1325 n.8 (N.D. Ga. 2022) (“It is well
settled that if one claim cognizable under Section 1442 is present, the entire action is removed,
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III.   This Notice Satisfies the Procedural Requirements of 28 U.S.C. § 1455

       Mr. Still files this Notice consistent with the requirements of 28 U.S.C. § 1455

in this Court, the geographical jurisdiction that embraces the jurisdiction in which

the Fulton County prosecution is pending. Mr. Still files this Notice prior to trial

and no later than 30 days after his arraignment. See 28 U.S.C. § 1455(b)(1).

Furthermore, this Notice sets forth Mr. Still’s grounds for removal. See 28 U.S.C. §

1455(b)(2). Pursuant to 28 U.S.C. § 1455(a), this Notice is signed by counsel

pursuant to Federal Rule of Civil Procedure 11. Finally, Mr. Still has attached the

Indictment from the Fulton County prosecution, which is the sole process, pleading,

or order to be served upon him in this action.

                                       CONCLUSION

       For the foregoing reasons, this case is subject to removal pursuant to 28 U.S.C.

§§ 1442(a) and 1455. Defendant Shawn Still respectfully requests that the Court:

       (1)     Promptly examine Mr. Still’s Notice of Removal pursuant to 28 U.S.C.

               § 1455(b)(4);

       (2)     Order an evidentiary hearing to be held promptly pursuant to 28 U.S.C.

               § 1455(b)(5); and


regardless of the relationship between the Section 1442 claim and the non-removable claims.”).
Therefore, if the Court finds that federal officer removal is required as to any defendant in this
case, the entire case must be removed.
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(3)   Enter any orders as may be necessary to accomplish the removal of the

      prosecution.

Respectfully submitted this 24th day of August, 2023.

                               /s/ Thomas D. Bever
                               Thomas D. Bever
                               Georgia Bar No. 055874
                               W. Cole McFerren
                               Georgia Bar No. 409248
                               SMITH, GAMBRELL & RUSSELL, LLP
                               1105 W. Peachtree Street, N.E.
                               Suite 1000
                               Atlanta, GA 30309
                               Telephone: (404) 815-3500
                               tbever@sgrlaw.com
                               cmcferren@sgrlaw.com

                               Counsel for Defendant Shawn Still




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

THE STATE OF GEORGIA                     )
                                         )      CRIMINAL CASE NO.
      Plaintiff,                         )
                                         )      __________________________
v.                                       )
                                         )      (Removed from the Superior Court
SHAWN STILL,                             )      of Fulton County, Criminal Action
                                                File No. 23SC188947)
                                         )
      Defendant.                         )
                                         )

                           NOTICE OF REMOVAL
      I certify that a copy of the foregoing Notice of Removal (and its

accompanying exhibits) was hereby filed on August 24, 2023 and served on the

persons listed below by the methods indicated. I sign consistent with Federal Rule

of Civil Procedure 11.

      By email:

             Fani Willis, Esq. Nathan J. Wade, Esq.
             Fulton County District Attorney's
             Office 136 Pryor Street SW, 3rd Floor
             Atlanta GA 30303 fani.willisda@fultoncountyga.gov
             nathanwade@lawyer.com

             The Honorable Christopher M. Carr
             Office of the Attorney General of
             Georgia 40 Capitol Square, S.W.
             Atlanta GA 30334 ccarr@law.ga.gov
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      I have also served this filing by email the counsel who to my knowledge

are representing other defendants named in the underlying indictment.

     Respectfully submitted this 24th day of August, 2023.

                                    /s/ Thomas D. Bever
                                    Thomas D. Bever
                                    Georgia Bar No. 055874
                                    W. Cole McFerren
                                    Georgia Bar No. 409248
                                    SMITH, GAMBRELL & RUSSELL, LLP
                                    1105 W. Peachtree Street, N.E.
                                    Suite 1000
                                    Atlanta, GA 30309
                                    Telephone: (404) 815-3500
                                    tbever@sgrlaw.com
                                    cmcferren@sgrlaw.com

                                    Counsel for Defendant Shawn Still




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